                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 1 of 33



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ARNALL GOLDEN GREGORY LLP




                                                                      12                                 UNITED STATES DISTRICT COURT

                                                                      13                                 Northern DISTRICT OF CALIFORNIA
                            LIMITED LIABILITY PARTNERSHIP
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                                                                      14                                         SAN JOSE DIVISION
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                                                                      15   RJ, et al.,                                          Case No. 5:20-cv-02255
                                                                      16                   Plaintiffs,                          Hon. Edward J. Davila
                                                                      17           v.
                                                                                                                                Plaintiffs Notice of Motion, Motion, and
                                                                      18   Cigna Health & Life Insurance Co., et al.,           Memorandum of Points and Authorities in
                                                                                                                                Support of Class Certification
                                                                      19                   Defendants.
                                                                                                                                Hearing Date: May 4, 2023
                                                                      20
                                                                                                                                              9:00 AM PT
                                                                      21
                                                                                                                                San Jose Courthouse
                                                                      22                                                        Courtroom 4 – 5th Floor
                                                                                                                                280 South 1st St.
                                                                      23                                                        San Jose, CA 95113
                                                                      24

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                                                                                                                        Plaintiffs Notice of Motion, Motion, and Memorandum of Points
                                                                            Case No. 5:20-cv-02255                                       and Authorities in Support of Class Certification
                                                                              Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 2 of 33



                                                                       1                                                              Table of Contents
                                                                       2    Table of Contents ........................................................................................................................ i

                                                                       3 Table Of Authorities................................................................................................................... ii
                                                                         Notice of Motion and Motion..................................................................................................... 1
                                                                       4
                                                                         Statement of Issues to Be Decided ............................................................................................. 1
                                                                       5 Memorandum of Points & Authorities ....................................................................................... 1

                                                                       6 I. RULE 23 STANDARD........................................................................................................... 1

                                                                       7 II. INTRODUCTION ................................................................................................................. 1
                                                                         III. SUMMARY OF PERTINENT FACTS ............................................................................... 2
                                                                       8
                                                                                 A.   ‘Maximum Reimbursable Charge’ (MRC): MRC-1 & MRC-2...................... 2
                                                                       9
                                                                                 B.   ‘Usual & Customary’ (“UCR”) Rate Determinations ..................................... 4
                                                                      10         C.   Verification of Benefits (“VOB”) Calls .......................................................... 5
                                                                      11                 D.          Explanations of Benefits (“EOBs”) and Provider Remittance
ARNALL GOLDEN GREGORY LLP




                                                                                                     Advises (“PRAs”)............................................................................................ 6
                                                                      12
                                                                         IV. PLAINTIFFS’ PROPOSED CLASS SATISFIES THE RULE 23
                                                                      13         REQUIREMENTS ...................................................................................................... 9
                            LIMITED LIABILITY PARTNERSHIP




                                                                                         A.          The Facts in this Case Satisfy the Requirements of Rule 23(a) ...................... 9
                              1775 Pennsylvania Ave. NW, Suite 1000




                                                                      14
                                     Telephone: 202.677.4030
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                                      Washington, DC 20006




                                                                                                     1.         The Classes Are Sufficiently Numerous ........................................... 10
                                                                      15
                                                                                                     2.         Commonality Is Satisfied .................................................................. 10
                                                                      16
                                                                                                     3.         Plaintiffs’ Claims Satisfy the Typicality Requirement...................... 14
                                                                      17                             4.         The Adequacy Requirements of Rule 23(a)(3) Are
                                                                                                                Satisfied ............................................................................................. 15
                                                                      18
                                                                                                     5.         The Proposed Class Is Ascertainable ................................................ 16
                                                                      19
                                                                                         B.          The Requirements of Rule 23(b) Are Satisfied ............................................. 16
                                                                      20                             1.         The RICO Claims Are Appropriate for Class Certification
                                                                                                                under Rule 23(b)(2) & (b)(3)............................................................. 17
                                                                      21
                                                                                                     2.         The ERISA Claims Are Appropriate for Class
                                                                      22                                        Certification Under Rule 23(b)(1), (b)(2) & (b)(3) ........................... 21
                                                                      23 V. CONCLUSION ................................................................................................................... 25

                                                                      24

                                                                      25

                                                                      26

                                                                      27

                                                                      28

                                                                                                                                                  -i-
                                                                              Case No. 5:20-cv-02255
                                                                             Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 3 of 33



                                                                       1                                                        Table Of Authorities
                                                                                                                                                                                                          Page(s)
                                                                       2 Cases

                                                                       3 Alday v. Raytheon Co.,
                                                                            619 F.Supp.2d 726 (D.Ariz.2008) ...........................................................................................22
                                                                       4
                                                                         Amchem Products, Inc. v. Windsor,
                                                                       5    521 U.S. 591 (1997) ..................................................................................................................1
                                                                       6    Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds,
                                                                              568 U.S. 455 (2013) ..................................................................................................................1
                                                                       7
                                                                            Armstrong v. Davis,
                                                                       8       275 F.3d 849 (9th Cir. 2001) ...................................................................................................11
                                                                            Baird v. Blackrock Institutional Tr. Co., N.A.,
                                                                       9       2020 WL 7389772 (N.D. Cal. Feb. 11, 2020) ...................................................................21, 22
                                                                      10    Barnes v. AT & T Pension Benefit Plan-Nonbargained Program,
                                                                               270 F.R.D. 488 (N.D. Cal. 2010), modified sub nom. Barnes v. AT & T
                                                                      11       Pension Ben. Plan-NonBargained Program, 273 F.R.D. 562 (N.D. Cal. 2011) ....................22
ARNALL GOLDEN GREGORY LLP




                                                                      12    Bias v. Wells Fargo & Co.,
                                                                               312 F.R.D. 528 (N.D. Cal. 2015) ............................................................................................20
                                                                      13
                                                                            Briseno v. ConAgra Foods, Inc.,
                            LIMITED LIABILITY PARTNERSHIP
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                                                                      14        844 F.3d 1121 (9th Cir. 2017) .....................................................................................16, 24, 25
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                                                                      15    Buus v. WAMU Pension Plan,
                                                                               251 F.R.D. 578 (W.D. Wash. 2008) ..................................................................................14, 23
                                                                      16    Castillo v. Bank of Am., NA,
                                                                      17       980 F.3d 723 (9th Cir. 2020) ...................................................................................................11
                                                                            Caufield v. Colgate-Palmolive Co.,
                                                                      18       2017 WL 3206339 (S.D.N.Y. July 27, 2017)..........................................................................16
                                                                      19    In re Citigroup Pension Plan ERISA Litig.,
                                                                                241 F.R.D. 172 (S.D.N.Y. 2006).............................................................................................22
                                                                      20
                                                                            Cohen v. Trump,
                                                                      21       303 F.R.D. 376 (S.D. Cal. 2014) .............................................................................................20
                                                                      22    Comcast Corp. v. Behrend,
                                                                              569 U.S. 27 (2013) ............................................................................................................17, 25
                                                                      23    Congdon v. Uber Techs., Inc.,
                                                                      24       291 F. Supp. 3d 1012 (N.D. Cal. 2018)...................................................................................14
                                                                            Corcoran v. CVS Health,
                                                                      25       2017 WL 1065135 (N.D. Cal. Mar. 21, 2017) ........................................................................12
                                                                      26    Dukes v. Wal–Mart Stores, Inc.,
                                                                               603 F.3d 571 (9th Cir.2010) (en banc)..............................................................................10, 17
                                                                      27
                                                                            Farar v. Bayer AG,
                                                                      28       2017 WL 5952876 (N.D. Cal. Nov. 15, 2017) ........................................................................24

                                                                                                                                              -ii-
                                                                             Case No. 5:20-cv-02255
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 4 of 33



                                                                       1   In re First All. Mortg. Co.,
                                                                               471 F.3d 977 (9th Cir. 2006) ...................................................................................................10
                                                                       2
                                                                           Hanlon v. Chrysler Corp.,
                                                                       3      150 F.3d 1011 (9th Cir. 1998) .................................................................................................24
                                                                       4   Hanon v. Dataproducts Corp.,
                                                                              976 F.2d 497 (9th Cir. 1992) ...................................................................................................14
                                                                       5
                                                                           Hart v. Colvin,
                                                                       6      310 F.R.D. 427 (N.D. Cal. 2015) ......................................................................................16, 23
                                                                           Hendricks v. Aetna Life Ins. Co.,
                                                                       7
                                                                              339 F.R.D. 143 (C.D. Cal. 2021).............................................................................................13
                                                                       8   In re Heritage Bond Litig.,
                                                                               2004 WL 1638201 (C.D. Cal. July 12, 2004) ...........................................................................1
                                                                       9
                                                                           Huyer v. Wells Fargo & Co.,
                                                                      10      295 F.R.D. 332 (S.D.Iowa, 2013)............................................................................................18
                                                                      11   Just Film, Inc. v. Buono,
                                                                               847 F.3d 1108 (9th Cir. 2017) .....................................................................................14, 15, 19
ARNALL GOLDEN GREGORY LLP




                                                                      12
                                                                           Kazda v. Aetna Life Ins. Co.,
                                                                      13      2022 WL 1225032 (N.D. Cal. Apr. 26, 2022).........................................................................23
                            LIMITED LIABILITY PARTNERSHIP




                                                                           Lane v. Wells Fargo Bank, N.A.,
                              1775 Pennsylvania Ave. NW, Suite 1000




                                                                      14
                                                                              2013 WL 3187410 (N.D. Cal. June 21, 2013).........................................................................18
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                                                                      15   Leyva v. Medline Indus. Inc.,
                                                                              716 F.3d 510 (9th Cir. 2013) ...................................................................................................19
                                                                      16
                                                                           Loc. Joint Exec. Bd. of Culinary/Bartender Tr. Fund v. Las Vegas Sands, Inc.,
                                                                      17      244 F.3d 1152 (9th Cir. 2001) .................................................................................................16
                                                                      18   Lynch v. Rank,
                                                                              604 F. Supp. 30 (N.D. Cal.), aff'd, 747 F.2d 528 (9th Cir. 1984), opinion
                                                                      19      amended on reh'g, 763 F.2d 1098 (9th Cir. 1985) ..................................................................16
                                                                      20   In re Managed Care Litigation,
                                                                               298 F.Supp.2d 1259 (S.D.Fla.,2003).......................................................................................18
                                                                      21
                                                                           Moeller v. Taco Bell Corp.,
                                                                      22     220 F.R.D. 604 (N.D. Cal. 2004), amended in part, 2012 WL 3070863 (N.D.
                                                                             Cal. July 26, 2012)...................................................................................................................23
                                                                      23   Motorola Credit Corp. v. Uzan,
                                                                      24      202 F.Supp.2d 239 (S.D.N.Y., 2002) ......................................................................................18
                                                                           Moyle v. Liberty Mut. Ret. Ben. Plan,
                                                                      25     823 F.3d 948 (9th Cir. 2016), as amended on denial of reh'g and reh'g en
                                                                      26     banc (Aug. 18, 2016)...............................................................................................................21
                                                                           Munro v. University of Southern California,
                                                                      27     2019 WL 7842551 (C.D. Cal. 2019) .......................................................................................22
                                                                      28

                                                                                                                                             -iii-
                                                                            Case No. 5:20-cv-02255
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 5 of 33



                                                                       1   Nat'l Org. For Women, Inc. v. Scheidler,
                                                                              267 F.3d 687 (7th Cir. 2001), rev'd on other grounds, 537 U.S. 393 154 L. Ed.
                                                                       2      2d 991 (2003) ..........................................................................................................................18
                                                                       3   Negrete v. Allianz Life Ins. Co. of N. Am.,
                                                                              238 F.R.D. 482 (C.D. Cal. 2006).............................................................................................21
                                                                       4
                                                                           Negrete v. Allianz Life Ins. Co. of N. Am.,
                                                                       5      287 F.R.D. 590 (C.D. Cal. 2012).......................................................................................17, 20
                                                                       6   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC,
                                                                              31 F.4th 651 (9th Cir. 2022) ..........................................................................................1, 19, 23
                                                                       7
                                                                           Orantes-Hernandez v. Smith,
                                                                       8      541 F. Supp. 351 (C.D. Cal. 1982)..........................................................................................10
                                                                           Peters v. Aetna Inc.,
                                                                       9      2 F.4th 199 (4th Cir. 2021), cert. denied sub nom. OptumHealth Care Sols. v.
                                                                      10      Peters, 142 S. Ct. 1227 (2022) ................................................................................................13
                                                                           Plascencia v. Lending 1st Mortg.,
                                                                      11      2011 WL 5914278 (N.D. Cal. Nov. 28, 2011) ........................................................................18
ARNALL GOLDEN GREGORY LLP




                                                                      12   PRS v. Cigna,
                                                                              No. 5:20-cv-02251-EJD (N.D. Cal. 2020) ..............................................................................16
                                                                      13
                                                                           Religious Technology Center v. Wollersheim,
                            LIMITED LIABILITY PARTNERSHIP
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                                                                      14       796 F.2d 1076 (C.A.9 (Cal.),1986) .........................................................................................18
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                                      Washington, DC 20006




                                                                      15   Rodriguez v. Hayes,
                                                                              591 F.3d 1105 (9th Cir. 2010) .................................................................................................10
                                                                      16   Schramm v. JPMorgan Chase Bank, N.A.,
                                                                      17      2011 WL 5034663 (C.D.Cal. Oct. 19, 2011) ..........................................................................18
                                                                           Simpson v. Fireman's Fund Ins. Co.,
                                                                      18      231 F.R.D. 391 (N.D. Cal. 2005), modified, 2007 WL 46785 (N.D. Cal. Jan. 5,
                                                                      19      2007)........................................................................................................................................14
                                                                           Smith v. United HealthCare Servs., Inc.,
                                                                      20      2002 WL 192565 (D. Minn. Feb. 5, 2002)..............................................................................12
                                                                      21   Stromberg v. Qualcomm Inc.,
                                                                               14 F.4th 1059 (9th Cir. 2021) ..................................................................................................23
                                                                      22
                                                                           Tawfilis v. Allergan, Inc.,
                                                                      23      2017 WL 3084275 (C.D. Cal. June 26, 2017).........................................................................14

                                                                      24   Trujillo v. UnitedHealth Grp., Inc.,
                                                                              2019 WL 493821 (C.D. Cal. Feb. 4, 2019) .............................................................................22
                                                                      25   In re U.S. Foodservice Inc. Pricing Litig.,
                                                                      26       729 F.3d 108 (2d Cir. 2013) ....................................................................................................18
                                                                           Vega v. Ocwen Fin. Corp.,
                                                                      27      2015 WL 1383241 (C.D. Cal. Mar. 24, 2015) ........................................................................18
                                                                      28   Wal-Mart Stores, Inc. v. Dukes,
                                                                              564 U.S. 338 (2011) ..............................................................................................10, 14, 17, 24
                                                                                                                                                 -iv-
                                                                            Case No. 5:20-cv-02255
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 6 of 33



                                                                       1   Walters v. Reno,
                                                                              145 F.3d 1032 (9th Cir. 1998) .................................................................................................15
                                                                       2
                                                                           Wang v. Chinese Daily News, Inc.,
                                                                       3     737 F.3d 538 (9th Cir. 2013) ...................................................................................................10
                                                                       4   In re WellPoint, Inc. Out-of-Network UCR Rates Litig.,
                                                                               2014 WL 6888549 (C.D. Cal. Sept. 3, 2014) ..........................................................................12
                                                                       5
                                                                           Wit v. United Behav. Health,
                                                                       6      317 F.R.D. 106 (N.D. Cal. 2016) ......................................................................................12, 13
                                                                           Wolin v. Jaguar Land Rover N. Am., LLC,
                                                                       7
                                                                              617 F.3d 1168 (9th Cir.2010) ............................................................................................11, 25
                                                                       8   Statutes
                                                                       9   18 U.S.C. § 1962(d).........................................................................................................................2
                                                                           ERISA § 502(a)(1)(B) .........................................................................................................2, 13, 21
                                                                      10
                                                                           ERISA § 502(a)(3) ....................................................................................................................2, 21
                                                                      11
                                                                           ERISA §§ 502(a)(3) and 502(a)(1)(B) ..........................................................................................22
ARNALL GOLDEN GREGORY LLP




                                                                      12   ERISA § 502(a)(3) and a .................................................................................................................2
                                                                      13   RICO, 18 U.S.C. § 1962(c) .............................................................................................................2
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                                                                      14   RICO § 1964(c) .............................................................................................................................18
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                                      Washington, DC 20006




                                                                           Other Authorities
                                                                      15
                                                                           Rule 23(a) ........................................................................................................................1, 9, 12, 14
                                                                      16
                                                                           Rule 23(a)(1)(B) ............................................................................................................................22
                                                                      17   Rule 23(a)(2)......................................................................................................................10, 11, 14
                                                                      18   Rule 23(a)(3)..................................................................................................................................15

                                                                      19   Rule 23(b) ............................................................................................................................1, 16, 25
                                                                           Rule 23(b)(1) ...............................................................................................................16, 21, 22, 23
                                                                      20
                                                                           Rule 23(b)(1)(A)............................................................................................................................22
                                                                      21
                                                                           Rule 23(b)(1)(B) ............................................................................................................................21
                                                                      22   Rule 23(b)(2) ...........................................................................................................................17, 23
                                                                      23   Rule 23(b)(3) ...............................................................................................................17, 18, 21, 24

                                                                      24

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                                                                      26

                                                                      27

                                                                      28

                                                                                                                                                 -v-
                                                                            Case No. 5:20-cv-02255
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 7 of 33



                                                                       1                                     Notice of Motion and Motion
                                                                       2           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                       3           PLEASE TAKE NOTICE that on May 4, 2023 at 9:00 a.m. in Courtroom 4 – 5th Floor,
                                                                       4 or at such other time as the Court may determine, before the Honorable Edward J. Davila,

                                                                       5 Plaintiffs RJ et al. (“Plaintiffs”) in the above-captioned actions will and hereby do move for class

                                                                       6 certification pursuant to Federal Rule of Civil Procedure 23.

                                                                       7           The relief Plaintiffs request in this motion is an order: (1) certifying the proposed Class
                                                                       8 defined below; (2) appointing Plaintiffs representatives of the Class; and (3) appointing

                                                                       9 Plaintiffs’ counsel, Arnall Golden Gregory, LLP, as class counsel for the Class, as well as any

                                                                      10 other relief that this Court deems appropriate and proper. This motion is brought pursuant to

                                                                      11 Federal Rule of Civil Procedure 23, and is supported by this Notice of Motion, Motion, and
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                                                                      12 accompanying Memorandum of Points and Authorities, the Declaration of Aaron R. Modiano,

                                                                      13 and all exhibits thereto, all pleadings on file in this lawsuit, and such other support as Plaintiffs
                            LIMITED LIABILITY PARTNERSHIP
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                                                                      14 may present to this Court.
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                                                                      15                                   Statement of Issues to Be Decided
                                                                      16           The issues for this Court to decide are: (1) whether the Court should certify the proposed
                                                                      17 Class under Fed. R. Civ. P. 23(b)(1)(A), 23(b)(2), and/or 23(b)(3), for class action of the

                                                                      18 proposed Class; (2) whether the Court should appoint the Plaintiffs as Class representatives for

                                                                      19 the Class; and (3) whether the Court should appoint Arnall Golden Gregory, LLP as Class

                                                                      20 Counsel for the Class.

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                                                                            Case No. 5:20-cv-02255
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 8 of 33



                                                                       1                                  Memorandum of Points & Authorities
                                                                       2   I. RULE 23 STANDARD
                                                                       3           Federal Rule of Civil Procedure 23 sets forth the standards for class certification. To
                                                                       4   qualify for class certification, a class must meet the requirements of Rule 23(a) and one of three
                                                                       5   alternatives of Rule 23(b). See Amchem Products, Inc. v. Windsor, 521 U.S. 591, 614 (1997). At
                                                                       6   this stage of litigation, extensive evidence is not required. See In re Heritage Bond Litig., 2004
                                                                       7   WL 1638201, at *2 (C.D. Cal. July 12, 2004). Discussing Rule 23, the Supreme Court has held,
                                                                       8   “Rule 23 grants courts no license to engage in free-ranging merits inquiries at the certification
                                                                       9   stage. Merits questions may be considered to the extent—but only to the extent—that they are
                                                                      10   relevant to determining whether the Rule 23 prerequisites for class certification are satisfied.”
                                                                      11   Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013). In evaluating
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                                                                      12   whether Rule 23’s prerequisites are met, the Ninth Circuit has clarified that a preponderance of
                                                                      13   the evidence standard applies. See Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods
                            LIMITED LIABILITY PARTNERSHIP




                                                                      14   LLC, 31 F.4th 651, 665 (9th Cir. 2022).
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                                                                      15   II.     INTRODUCTION
                                                                      16           This litigation encompasses a putative class with more than 150,000 claims representing
                                                                      17   more than 390,000 days of treatment for intensive outpatient therapy for more than 8,000
                                                                      18   individual patients at more than 3,100 facilities. Plaintiffs and the thousands of putative class
                                                                      19   members were directly injured by Cigna and MultiPlan’s unlawful scheme to underpay valid,
                                                                      20   medically necessary claims through the fraudulent and deceptive use of the Viant OPR
                                                                      21   methodology. Plaintiffs and the putative class members’ reimbursement claims for out-of-
                                                                      22   network, intensive outpatient therapy (“IOP”) for substance use disorders were submitted to
                                                                      23   Cigna with HCPCS code H0015 and/or revenue code 0906.1 Within this overall group, Plaintiffs
                                                                      24   have asserted claims under ERISA and RICO that are appropriate for class certification.
                                                                      25   Plaintiffs propose the following: Proposed Class Definition:
                                                                      26
                                                                                 Any member of a health benefit plan administered or issued by Cigna and governed by
                                                                      27   1 MultiPlan’s “‘Missing Value Approach’ for Viant OPR
                                                                                                                                     MPI0000230, Exhibit 1.
                                                                      28


                                                                                                                               -1-
                                                                            Case No. 5:20-cv-02255-EJD
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 9 of 33



                                                                       1          ERISA, where the member’s plan utilized Cigna’s ‘Maximum Reimbursable Charge’
                                                                                  program for out-of-network benefits and whose claim(s) for intensive outpatient services
                                                                       2          billed with HCPCS H0015 and/or revenue code 0906 were priced by MultiPlan’s Viant
                                                                       3          methodology, during the class period January 1, 2015 to the present.
                                                                           The claims at issue in this litigation are those whose pricing either have been or will be
                                                                       4
                                                                           processed with the Viant OPR methodology. These are valid, payable claims that have not been
                                                                       5
                                                                           denied on the basis of medical necessity or otherwise. These claims are processed through the
                                                                       6
                                                                           Viant OPR methodology as having HCPCS code H0015. (See MPI0000230, Exhibit 1). For these
                                                                       7
                                                                           claims, the Viant OPR methodology is fraudulently presented to providers, plan sponsors, and
                                                                       8
                                                                           patients as “allow[ing] a direct comparison between the facility’s billed charge and the facility
                                                                       9
                                                                           charges for the same service within the geographic area.” (See MPI0000216, Exhibit 2). The
                                                                      10
                                                                           perpetuating and disseminating of this untrue statement, and representations that flowed from it
                                                                      11
                                                                           to patients and providers for IOP services is at the heart of this litigation.
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                                                                           III.    SUMMARY OF PERTINENT FACTS
                                                                      13
                                                                                   Plaintiffs seek (1) violations of RICO, 18 U.S.C. § 1962(c) against both Defendants; (2)
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                                                                      14
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                                                                           RICO conspiracy, 18 U.S.C. § 1962(d) against both Defendants; (3) underpayment of benefits in
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                                                                      15
                                                                           violation of ERISA against Cigna; (4) breach of plan provisions in violation of ERISA §
                                                                      16
                                                                           502(a)(1)(B) against Cigna; (5) violation of fiduciary duties of loyalty and duty of care under
                                                                      17
                                                                           ERISA § 502(a)(3) and a request for declaratory and injunctive relief against Cigna; and (6)
                                                                      18
                                                                           violation of fiduciary duties of loyalty and due care and request for declaratory and injunctive
                                                                      19
                                                                           relief under ERISA § 502(a)(3) against MultiPlan. Plaintiffs’ claims against Cigna and Multiplan
                                                                      20
                                                                           are for their systematic, fraudulent use of Viant OPR as co-schemers, resulting in systematic,
                                                                      21
                                                                           nationwide, underpayments of out-of-network behavioral health claims for intensive outpatient
                                                                      22
                                                                           therapy (“IOP”). The Plaintiffs and the putative class members participate in ERISA governed
                                                                      23
                                                                           health benefit plans administered by Cigna with out-of-network benefits whose IOP claims were
                                                                      24
                                                                           priced using Multiplan’s pricing tool, Viant OPR.
                                                                      25
                                                                           A. ‘Maximum Reimbursable Charge’ (MRC): MRC-1 & MRC-2
                                                                      26
                                                                                   Regardless of whether a patients’ Cigna plan’s MRC was described as ‘MRC-1’ or
                                                                      27
                                                                           ‘MRC-2’ in the Summary Plan Description (“SPD”), the allowed amount was determined using
                                                                      28


                                                                                                                             -2-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 10 of 33



                                                                       1   the same Viant OPR methodology for all claims at issue2. For all claims at issue it was
                                                                       2   represented to plan members or their agents that for ‘MRC-1’ plans, benefits were covered at the
                                                                       3   a specified, usually 80th, percentile of charges for similar services in the same geographic area
                                                                       4   and that ‘MRC-2’ plans be reimburse at a specified percentage of the Medicare schedule rate,
                                                                       5   typically 150% or more except where no Medicare schedule rates are provided, as MRC-2 plans
                                                                       6   state, generally, that “the MRC is determined based on the lesser of: the health care professional
                                                                       7   or facility’s normal charge for a similar service or supply; or the MRC Option I methodology
                                                                       8   based on the 80th percentile of billed charges.” (see generally, Exhibit 4 Plan Documents; see
                                                                       9   also, Michael Battistoni Deposition Transcript 131:1-10, 188:10-13, Exhibit 5). The SPDs did
                                                                      10   not include any language that mentioned MultiPlan, Viant, Viant OPR, or the 40th, 50th, or even
                                                                      11   60th percentile of charges. Id.
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                                                                      12           Instead, the plans referred to a ‘Usual & Customary’ or ‘UCR’ claim determination
                                                                      13   methodology (Expert Report of Mark A. Hall, Exhibit 5, ¶5). Thus, all claims at issue in this
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                                                                      14   litigation were required to be determined according to UCR. They were not. (see January 16,
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                                                                      15   2023 Expert Report of Ron Luke & Brian Piper, Research & Planning Consultants, LP, Piper
                                                                      16   (“RPC”), Exhibit 6, ¶¶14, 24, 31-32). This language was most often drafted by Cigna and, in
                                                                      17   every case, was approved by Cigna so that the MRC program could be applied in the same,
                                                                      18   systematic way by Cigna’s automated claim processing systems3. The MRC program was set up
                                                                      19   within Cigna and MultiPlan’s claim systems to apply the Viant OPR methodology consistently
                                                                      20   and uniformly, regardless of the wording contained within the plan documents and, as confirmed
                                                                      21   by multiple witnesses and documents produced during discovery, plan documents were not used
                                                                      22   in determining the MRC amounts4. This program provided completely automated claim
                                                                      23   2 Gabriel Smith, Product Manager for Cigna’s Cost Containment Program, testified Cigna’s definition of MRC
                                                                                                  (Deposition Transcript, Exhibit 3, Pg. 67 Ln. 12-18); Hall Report ¶5; Lahav Report ¶13).
                                                                      24
                                                                           3 See Beckstead 68: 17 –69: 2, “
                                                                      25
                                                                                                                                                                                     ”
                                                                      26   (emphasis added); see also, Smith Dep. 131:8-132:7, 138:11-140:6.
                                                                           4 See Deposition Transcripts of Kathy Praxmarer, Exhibit 9, Dep. 53:3 “
                                                                      27
                                                                                    ” See also Ralston Dec. ¶ 41.
                                                                      28


                                                                                                                                  -3-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 11 of 33



                                                                       1   processing and pricing by Cigna and MultiPlan using Viant OPR. (See Ralston Dec. ¶ 41). For
                                                                       2   the entire class, each and every healthcare benefits plan provided for the reimbursement out-of-
                                                                       3   network claims according to Cigna’s MRC program. This program was represented as paying at
                                                                       4   a percentile of UCR and, in each claim at issue, this was a lie. (See Ralston Dec. ¶ 39, 40).
                                                                       5   B. ‘Usual & Customary’ (“UCR”) Rate Determinations

                                                                       6           Every claim at issue was required to have been determined based on UCR. UCR and

                                                                       7 similar phrases are widely used and understood terms within the healthcare community and refer

                                                                       8 to the determination of claim pricing based upon prevailing charges of similar healthcare

                                                                       9 providers in the same or similar geographic area (see Hall Report ¶5 & Appendix; RPC Report

                                                                      10   ¶15). In this litigation, the plan language provided to the Plaintiffs and the putative Class

                                                                      11   members indicated that IOP services would be determined at UCR rates based upon the charges

                                                                           of similar providers providing the same services in the same geographic area. (see generally,
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                                                                      12

                                                                      13   Exhibit 4). Viant OPR is represented as a UCR methodology. (see Deposition of Karen

                                                                           Beckstead, Exhibit 8, 11:19-24; MPI-C0000216; September 2018 Viant OPR white paper).
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                                                                      15   However, nowhere in the plan documents are the terms MultiPlan, Viant, Viant OPR, or

                                                                      16   anything similar mentioned. (see generally, Exhibit 4). UCR determinations are most often based

                                                                      17   upon the 80th percentile of similar rates charged by similar providers in the same geographic

                                                                      18   area and charge percentiles below the 60th percentile are not normally used. (RPC Report, ¶47;

                                                                      19   see also, Deposition Transcript of Creyna Franco, Exhibit 16, Dep. at 30: 13-20; 38:19-23;

                                                                      20   68:19-23). The leading source for data to determine UCR rates is FAIR Health (Hall Report, ¶5

                                                                      21   & Appendix item 4). FAIR Health is “an independent nonprofit that collects data for and

                                                                      22   manages the nation’s largest database of privately billed health insurance claims… established to

                                                                      23   bring transparency to healthcare costs and health insurance information.5” Under HCPCS code

                                                                      24   H0015, FAIR Health provides publicly accessible, local, rates for IOP treatment under HCPCS

                                                                      25   code H0015.

                                                                      26           However, instead of processing and reimbursing the IOP claims at issue with a valid

                                                                      27   UCR methodology and data – such as FAIR Health – Cigna and MultiPlan, together, used the
                                                                           5 About us: Fair health, About Us | FAIR Health, https://www.fairhealth.org/about-us (last visited Aug 16, 2022).
                                                                      28


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                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 12 of 33



                                                                       1   Viant OPR methodology to derive a fraudulent, deceptive rate that was a small fraction of the
                                                                       2   VOB quoted rate – the UCR percentile given on the VOB call – and well below any plausible
                                                                       3 understanding of the UCR rate. The language contained in the patient’s summary plan

                                                                       4 description is the language referred to by Cigna as ‘plan terms.’ This language was most often

                                                                       5 drafted by Cigna and, in every case, was approved by Cigna so that the MRC program could be

                                                                       6 applied in the same, systematic way by Cigna’s automated claim processing systems6. The MRC

                                                                       7 program was set up within Cigna and MultiPlan’s claim systems to apply the Viant OPR

                                                                       8 methodology consistently and uniformly, regardless of the wording contained within the plan

                                                                       9 documents and, as confirmed by multiple witnesses and documents produced during discovery,

                                                                      10 plan documents were not used in determining the MRC amounts7. This program provided

                                                                      11 completely automated claim processing and pricing by Cigna and MultiPlan using Viant OPR.

                                                                      12 C. Verification of Benefits (“VOB”) Calls
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                                                                      13             For all claims at issue, the patients’ providers verified insurance benefits, as the patients’

                                                                           authorized representatives, prior to providing treatment during a ‘verification of benefits’
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                                                                      15   (“VOB”) call with Cigna’s agents. Cigna’s agents verified benefits only after receiving

                                                                      16 authorization from the plan member their providers were authorized to do so.

                                                                      17   During the VOB calls, Cigna’s agents followed the same procedures and script8 for Cigna’s

                                                                      18   ‘Maximum Reasonable Charge’ (“MRC”) program, relying on information from Cigna’s internal

                                                                      19   claim system (See Deposition Transcript of Rachel Murphy, Exhibit 16, Murphy Dep. 65:16-66).

                                                                      20   Cigna’s agents relied upon the system’s information that was pulled up for each claim when they

                                                                      21   stated during the VOB process that claims for mental health / substance use disorder (MH/SUD)

                                                                      22   treatment would be reimbursed according to a specified percentile of the usual and customary

                                                                      23   6 See Beckstead Tr. Pg. 68 Ln. 17 – Pg. 69 Ln. 2, “
                                                                      24
                                                                                             .” (emphasis added).
                                                                      25
                                                                           7 See Ralston Dec. ¶¶35-37; see also, CIG_RJ00922454, Claim Pricing Policy, Exhibit 12, stating
                                                                      26                                              .
                                                                           8
                                                                          Cigna Behavioral Health Claims Manual, Exhibit 11, CIG_RJ00922318; Cigna’s out-of-network allowable
                                                                      27 Maximum  Reimbursable Charge Call, standard operating procedures produced at attached as Exhibit 13
                                                                           CIG_RJ00004356; Cigna’s Maximum Reimbursable Charge guidelines, Exhibit 14, CIG_RJ00922462
                                                                      28


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                                                                               Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 13 of 33



                                                                       1   rates of similar providers providing the same service in the same geographic area. (See BA
                                                                       2 Screenshots Attached as Exhibit 26). They did not review or request any specific or individual

                                                                       3 plan documents during this process. (See Murphy Dep. 179:21-180:10). Cigna’s agents also

                                                                       4 stated, using the same claim system information, what percentage of that usual and rate would be

                                                                       5   reimbursed once the out-of-pocket maximum was reached. (See VOB Composite, Exhibit 27;
                                                                       6 Murphy Dep. 264:18-267:5).

                                                                       7          None of the system information referenced by Cigna’s agents identified that the MRC
                                                                       8   amount would be determined under a different methodology or would use a different percentile
                                                                       9   than what was conveyed during the VOB call or contained within SPDs or any other Plan
                                                                      10   documents. (See Murphy Dep. 72:12-73:5). To the contrary, Cigna knew that its agents were
                                                                      11   conveying intentionally misleading information that did not include that Viant OPR would be
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                                                                      12   utilized or that Viant OPR used the    or     percentile of an inadequate data set to determine
                                                                      13   the claim amount. ((See BA Screenshots Ex. 26) Murphy Dep. 72:12-73:5 (stating that call
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                                                                      14   representatives were not
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                                                                      15                                                                                        )).
                                                                      16 Because out-of-network providers have no access to the actual ERISA plans, Cigna and

                                                                      17   MultiPlan knew and intended that providers rely on the information provided to them during
                                                                      18   VOB calls and, in turn, knew their customers relied upon what was told to the providers during
                                                                      19   the VOB calls when deciding whether to proceed with treatment. (See Franco Dep. 223:19-22;
                                                                      20   224:2-10).
                                                                      21   D. Explanations of Benefits (“EOBs”) and Provider Remittance Advises (“PRAs”)

                                                                      22          After the claims were processed and priced, the members received Explanations of

                                                                      23   Benefits (“EOBs”) from Cigna that stated their claims were priced using Viant and directing

                                                                      24   them to contact Viant at a dedicated phone number with any questions as to the reimbursement

                                                                      25   methodology and accompanying remark code. (See Composite EOB Exhibit 28). Providers

                                                                      26 received Provider Remittance Advices (“PRAs”) with the same information and direction to

                                                                      27 contact Viant and the same remark code. (See Composite PRAs attached as Exhibit 29). Cigna

                                                                      28 actually changed this language in 2021, although this change did not change what was said


                                                                                                                          -6-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 14 of 33



                                                                       1   during VOB calls or appear anywhere in SPDs or any plan documents.
                                                                       2           Patients and providers also received a Patient Advocacy Department (“PAD”) letter with
                                                                       3   both Cigna and Viant on the letterhead, generated and sent by MultiPlan9 directing patients and
                                                                       4   providers to contact Viant at a dedicated number regarding the reimbursement amount and
                                                                       5   stating that the reimbursed amounts represented the usual and customary amounts charged by
                                                                       6   similar providers for the same services in the same geographic area. Due to ongoing confusion,
                                                                       7   Cigna later removed the MultiPlan logo from the PAD letter10 but kept the phone number the
                                                                       8   same. If patients or providers contacted Cigna upon learning that their claim was priced by
                                                                       9   Viant, they were also directed by Cigna’s agents to contact Viant. When contacted by providers,
                                                                      10   Viant would often send the provider, and only the provider —not the patient, an Explanation of
                                                                      11   Methodology (“EOM”) that again represented the reimbursement amount as the usual and
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                                                                      12   customary charges of similar providers for the same service in the same geographic area.
                                                                      13           None of this was true for the IOP claims at issue. From the beginning of the class period
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                                                                      14   until late 2018, the Viant OPR methodology took the                              from the CMS standard
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                                                                      15   analytical file (“SAF”), fewer than            out of the more than 500 million total claims contained11
                                                                      16 within the SAF, and applied                                                                       H0015 claims to
                                                                      17 all H0015 claims priced using Viant OPR for Cigna. (See Deposition Transcript of Sean

                                                                      18 Crandell, Exhibit 22, Dep. 149: 5-16., Beckstead Dep. 34:21-35:24; 59:10-60:20; Cothron Dep

                                                                      19 42:4-16). The SAF file contains Medicare data for Medicare enrollee claims, and consists of a

                                                                      20 population that is age 65 and older, for claims reimbursed by CMS. (Crandell Dep. 58: 13-59:10;

                                                                      21   Beckstead Dep. 58: 18-61:16). IOP treatment, billed as H0015 on a UB-04 form, is not covered
                                                                      22   by Medicare. (See Ralston Dec. ¶12). Despite this, and without any knowledge of the contents or
                                                                      23   9 See Battistoni Dep. at 192: 17-11; Deposition Transcript of Terri Cothron, Exhibit 17, Dep. at 66:18-67:14;
                                                                           Praxmarer Dep. 25:19-28:25; Deposition Transcript of Monica Armstrong, Exhibit 18, Dep. at 143:17-24
                                                                      24
                                                                           10 See MPI-C0012522, Exhibit 19, internal Multiplan email chain dated February-July 2017 relating to updates to
                                                                      25   PAD letters, specifically Theresa Vasquez stated on June 30, 2017 that “
                                                                                                                                                                ” Subsequent updates still
                                                                      26   directed                                . See MPI-C0016258 and MCP-C0016274, Exhibit 20.
                                                                           11
                                                                           See MPI- C0020819, Exhibit 21, September 21, 2018 e-mail from Karen Beckstead to Tom Ralston, both
                                                                      27 MultiPlan employees, “
                                                                                                                                                                     ”
                                                                      28


                                                                                                                                   -7-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 15 of 33



                                                                       1   specifics of the H0015 claims contained within the SAF (See Beckstead Dep. 63:15-64; Crandell
                                                                       2 Dep. 50: 23-51:3, :), Viant OPR was used to price tens of thousands of H0015 claims and

                                                                       3   represented them as being the UCR value (see Beckstead Dep. 79:22- 85: 9). For H0015 claims,
                                                                       4   this is an inappropriate methodology and does not produce a UCR. (See RPC Report ¶¶17-24).
                                                                       5            The H0015 claims priced by Viant OPR from late 2018 on are equally deceptive. Those
                                                                       6   claims rely upon Viant OPR applying the SAF data for APC                      12   and using that data directly
                                                                       7   to determine the price for H0015 claims. No comparisons of demographics or studies as to the
                                                                       8   appropriateness of this direct ‘crosswalk’ were conducted.13 Viant OPR was used to price at
                                                                       9   least            H0015 claims for Cigna between the first quarter of 2016 and the fourth quarter of
                                                                      10   2021. (See RPC report ¶36). RPC analyzed the claim data produced to Plaintiffs and opined, the
                                                                      11   “ th and       th percentile values for the CIGNA claims are similar to the national values for
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                                                                      12                                               . The percentile values for H0015 calculated based on
                                                                      13 CIGNA claims data are reasonable UCR values for commercial claims. There is a large volume
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                                                                      14 of claims data covering the states and including charges for all types of IOP providers. The
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                                                                      15 percentile values for H0015 calculated based on the OPSAF are unreasonable. There are few

                                                                      16 claims from even fewer providers. There are not claims from all types of IOP providers. The

                                                                      17 charges are only for the facility or technical component of the service.” (¶43-44). However, Ms.

                                                                      18 Beckstead, testified that no clinical review of the use of APC                   was conducted and that the
                                                                      19 decision to equate H0015 to APC                 was based on her and Thomas Ralston’s review of
                                                                      20                                    (Beckstead Dep. 17:11-20, 18:16-31:21.)14 ) (See also Armstrong
                                                                      21
                                                                           12 From the end of 2018 onwards, the Viant OPR methodology
                                                                      22
                                                                                            and stating, “
                                                                      23                           ” MPI C0020819; see also Beckstead Dep. :18: 3-5
                                                                                                                          ” and 68: 7-11 “
                                                                      24
                                                                                                                                   ” (emphasis added).
                                                                      25   13 See See Battistoni Dep. 47:20-24 “                                                                      ” and
                                                                           how it was pricing
                                                                      26                                                                      l. (Ralston Dec ¶29)
                                                                           14 Ms. Beckstead further testified, “
                                                                      27
                                                                                                                                                              ” (Beckstead Dep. 57:11-16).
                                                                      28


                                                                                                                                 -8-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 16 of 33



                                                                       1   Dep. 192:4-192:10; Crandell Dep. 55:10-57:24; 68:3-9; 71:16-72:11). Although Ms. Beckstead
                                                                       2 testified that Mr. Ralston undertook “quite extensive research” justifying the use APC                      to
                                                                       3 reprice H0015 claims (Beckstead Dep. 155: 2-3). The record evidence produced by MultiPlan

                                                                       4 shows that to be untrue and that MultiPlan’s crosswalk of H0015 to APC                       was rationalized
                                                                       5 for financial, not clinical, reasons (See MPI-C0003432, Exhibit 23).15

                                                                       6           By contrast, RPC analyzed Viant OPR’s use of SAF data                           (¶¶17-24) and APC
                                                                       7         ((¶¶25-32) and found both lacking and not appropriate to generate a local UCR for H0015
                                                                       8 claims. RPC opined that both were inappropriate to calculate a UCR value for H0015 claims.

                                                                       9 This contrasts with Ms. Beckstead’s testimony that Viant OPR produces a usual and customary

                                                                      10 reimbursement rate. (Beckstead Dep. 169:17-20). Unlike Ms. Beckstead, Plaintiffs Expert RPC

                                                                      11 undertook a meaningful analysis of H0015 claims, showing that Ms. Beckstead and MultiPlan’s
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                                                                      12 UCR claims regarding Viant OPR are unreliable and incorrect.

                                                                      13           As Plaintiffs’ expert opined, “[n]othing in law or logic requires CIGNA or Multiplan to
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                                                                      14 base percentile values for all HCPCS codes on the OPSAF data. It is only a Multiplan company
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                                                                      15 policy.” (RPC Report ¶33). This ‘policy’ allowed Defendants to fraudulently and unlawfully take

                                                                      16 in millions of dollars of fraudulent “savings” for which they charged millions of dollars of

                                                                      17 fees.16 This scheme has been continuous since at least 2015, continues in operation to this day,

                                                                      18 and will continue into the future without court intervention. Cigna’s witnesses testified that

                                                                      19 Cigna intends to continue to offer and use Viant OPR in its MRC program. For all of the reasons

                                                                      20 set forth below, it is appropriate for the Court to certify Plaintiffs’ ERISA and RICO claims for

                                                                      21 class treatment.

                                                                      22 IV.       PLAINTIFFS’ PROPOSED CLASS SATISFIES THE RULE 23 REQUIREMENTS
                                                                      23 A. The Facts in this Case Satisfy the Requirements of Rule 23(a)

                                                                      24           Rule 23(a) “requires a party seeking class certification to satisfy four requirements:

                                                                      25
                                                                           15 Terri Cothron, a former employee of Cigna who responsible for the relationship between Cigna and Multiplan,
                                                                      26   and responsible for approving the underlying data to price H0015 claims stated that “
                                                                                                                                         ” (See Cothron Dep. 87:14-23, 91:4-5.)
                                                                      27   16 See Cigna Vendor Fee Reports, Composite Exhibit 25, CIG_RJ00005784, CIG_RJ00005785, CIG_RJ00804708;
                                                                           CIG_RJ00635020; CIG_RJ608833
                                                                      28


                                                                                                                                  -9-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 17 of 33



                                                                       1   numerosity, commonality, typicality, and adequacy of representation.” Wang v. Chinese Daily
                                                                       2 News, Inc., 737 F.3d 538, 542 (9th Cir. 2013) Each of these requirements is satisfied.

                                                                       3          1.      The Classes Are Sufficiently Numerous

                                                                       4          Numerosity met if the Court finds the proposed Class “is so numerous that joinder of all

                                                                       5 members is impracticable.” Fed. R. Civ. P. 23(a)(l). Numerosity may be satisfied in classes “with

                                                                       6 fewer than 100 members, and as few as 39.” In re Syncor, 227 F.R.D. at 343. Even when “the

                                                                       7 exact size of the class is unknown but general knowledge and common sense indicate that it is

                                                                       8 large, the numerosity requirement is satisfied.” Orantes-Hernandez v. Smith, 541 F. Supp. 351,

                                                                       9   370 (C.D. Cal. 1982). Here, the claims reports produced by the Defendants each contain more

                                                                      10   than                       lines of claim data. The numerosity requirement easily met in this

                                                                      11 case. (see 1 Newberg and Rubenstein on Class Actions § 3:12 (6th ed.) (‘a class of 40 or more

                                                                      12 members raises a presumption of impracticability of joinder’; Expert Report of Alexandra Lahav
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                                                                      13 ¶25, 37).
                                                                                  2.      Commonality Is Satisfied
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                                                                                  Under Rule 23(a)’s commonality requirement, there must be “common questions of law
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                                                                      15
                                                                           and fact”. Dukes v. Wal–Mart Stores, Inc., 603 F.3d 571, 594 (9th Cir.2010) (en banc) (emphasis
                                                                      16
                                                                           in original). However, “answering those questions,” on the other hand, “is the purpose of the
                                                                      17
                                                                           merits inquiry, which can be addressed at trial and at summary judgment.” Id. The Ninth Circuit
                                                                      18
                                                                           construes the commonality requirement of Rule 23(a)(2) permissively. See e.g., Rodriguez v.
                                                                      19
                                                                           Hayes, 591 F.3d 1105, 1122 (9th Cir. 2010). There is no requirement that members of the
                                                                      20
                                                                           proposed class “share every fact in common or completely identical legal issues”. Rodriguez 591
                                                                      21
                                                                           F.3d at 1122 (9th Cir. 2010). No more than a single common question is required for the
                                                                      22
                                                                           commonality requirement of Rule 23(a)(2) to be satisfied. See Wal-Mart Stores, Inc. v. Dukes,
                                                                      23
                                                                           564 U.S. 338, 359 (2011); Wang v. Chinese Daily News, Inc., 737 F.3d 538, 544 (9th Cir. 2013).
                                                                      24
                                                                           As to Plaintiffs’ RICO claims specifically, the Ninth Circuit follows “an approach that favors
                                                                      25
                                                                           class treatment of fraud claims stemming from a ‘common course of conduct.’” In re First All.
                                                                      26
                                                                           Mortg. Co., 471 F.3d 977, 990 (9th Cir. 2006). Class treatment has been permitted where “a
                                                                      27
                                                                           standardized sales pitch is employed” and has “rejected a “talismanic rule that a class action may
                                                                      28


                                                                                                                          -10-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 18 of 33



                                                                       1   not be maintained where a fraud is consummated principally through oral misrepresentations,
                                                                       2   unless those representations are all but identical,” observing that such a strict standard overlooks
                                                                       3   the design and intent of Rule 23.” Id. Plaintiffs have provided substantial record evidence
                                                                       4   showing a ‘common course of conduct.’
                                                                       5          Commonality demands only that “class members’ ‘situations share a common issue of
                                                                       6   law or fact, and are sufficiently parallel to insure a vigorous and full presentation of all claims for
                                                                       7   relief.’” Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d 1168, 1172 (9th Cir.2010). Rule
                                                                       8   23(a)’s “commonality inquiry does not require plaintiffs to demonstrate the ‘predominance’ of
                                                                       9   common issues over individualized ones, nor the ‘cohesion’ of the class.” Castillo v. Bank of
                                                                      10   Am., NA, 980 F.3d 723, 730 (9th Cir. 2020). Commonality is satisfied “where the lawsuit
                                                                      11   challenges a system-wide practice or policy that affects all of the putative class members”.
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                                                                      12   Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001). Plaintiffs’ proposed class satisfies this
                                                                      13   requirement as, overall, Plaintiffs’ lawsuit challenges the system-wide use of Viant OPR for IOP
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                                                                      14   claims. Plaintiffs have identified numerous common questions that are susceptible to common
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                                                                      15   answers; even though, “[f]or purposes of commonality requirement for class certification, even a
                                                                      16   single common question will do.” Fed. R. Civ. P. 23(a)(2).
                                                                      17          Plaintiffs have submitted record evidence and expert opinions as to the system-wide
                                                                      18   practices and policies in Cigna’s MRC program supra and the Defendants use of the Viant OPR
                                                                      19   methodology. Individual considerations do not prevail to defeat Plaintiffs’ claims of
                                                                      20   commonality. Ralston’s declaration soundly rebuts this argument as he states that “Regardless of
                                                                      21   plan language, all claims are processed precisely the same way by MultiPlan. To my knowledge,
                                                                      22   Viant cost containment services do not consider plan language and plan language is never sent to
                                                                      23   MultiPlan or considered by MultiPlan.” (Ralston Dec. ¶40).
                                                                      24          The evidence shows that not only did Cigna provide plans with template language for
                                                                      25   their Summary Plan Descriptions (“SPDs”), it also evaluated and determined internally that the
                                                                      26   SPD language used supported the use of Viant OPR in the MRC program. Further, the MRC
                                                                      27 program, for H0015 claims, employed a single methodology, Viant OPR, in pricing all of the

                                                                      28 putative class members’ claims. It is the use of Viant OPR methodology and the fraud


                                                                                                                            -11-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 19 of 33



                                                                       1   surrounding its use with the MRC program that Plaintiffs are challenging at the programmatic
                                                                       2   level. The program occurred mechanically, repetitively, and in the same manner for every claim
                                                                       3   in the putative class.
                                                                       4            This distinguishes the present litigation from cases such as In re WellPoint, Inc. Out-of-
                                                                       5   Network UCR Rates Litig., 2014 WL 6888549 (C.D. Cal. Sept. 3, 2014) that involved “the
                                                                       6   claims of millions of subscribers and providers, which arise out of tens of thousands of
                                                                       7   WellPoint insurance contracts.” Here, Plaintiffs’ class is tailored to challenging Defendants’
                                                                       8   MRC program and the Viant OPR methodology used to fraudulently determine reimbursement
                                                                       9   rates for Plaintiffs’ and class members IOP / H0015 claims. Plaintiffs have shown through record
                                                                      10   evidence and the reports of its experts that commonality under Rule 23(a) exists for the claims
                                                                      11   Plaintiffs are seeking to have certified as a class. Overstating the effect of small differences in
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                                                                      12   benefit plans is a common tactic used by Defendants in attempting to avoid class certification; as
                                                                      13   stated by another district court, “[a]lthough UHC accentuates the existence of thousands of
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                                                                      14   different employer-sponsored health care benefits plans in 29 states, minor variations in the
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                                                                      15 phrasing of the relevant plan language do not make the claims atypical with respect to the claims

                                                                      16 alleged in the Complaint.” Smith v. United HealthCare Servs., Inc., 2002 WL 192565, at *4 (D.

                                                                      17 Minn. Feb. 5, 2002). The court in Wit v. United Behav. Health, 317 F.R.D. 106 (N.D. Cal. 2016),

                                                                      18   addressing a similar argument, and much of the same case law, held “[t]he court in In re
                                                                      19   Wellpoint did not, however, suggest that the mere fact that class members were insured under
                                                                      20   different plans precluded commonality. To the contrary, it recognized that it is possible to satisfy
                                                                      21   the commonality requirement when there are multiple ERISA plans, for example, where the
                                                                      22   ‘ERISA plans at issue had terms that were common across the proposed class.’” Id. at 129. The
                                                                      23 Viant OPR methodology is the same for every claim at issue in the proposed class and its

                                                                      24 fraudulent application to IOP / H0015 claims is at the heart of Plaintiffs’ case17.

                                                                      25   17 Likewise, cases following In re WellPoint are similarly distinguished. Corcoran v. CVS Health, 2017 WL
                                                                      26   1065135, at *5 (N.D. Cal. Mar. 21, 2017) found that, even more important than the differing contracts was that
                                                                           “several executives from the largest PBMs in the industry have submitted declarations expressing their
                                                                           understanding that the HSP prices at issue in this litigation were not considered U&C prices.” Id. at *6. Here,
                                                                      27   Multiplan never received the plan language for the claims relevant to Plaintiffs’ claims and did not price the claims
                                                                           according to that language.
                                                                      28


                                                                                                                                    -12-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 20 of 33



                                                                       1           It is not the case that each Plaintiff needs to show that the rate reimbursed on their claim
                                                                       2 was unreasonable under the terms of their plan based on the information available to Defendants

                                                                       3 at the time they determined the reimbursement amount. As in Wit 317 F.R.D. at 127, where the

                                                                       4   Court stated “Plaintiffs seek only an order that UBH develop guidelines that are consistent with
                                                                       5   generally accepted standards and reprocess claims for coverage that were denied under the
                                                                       6   allegedly faulty guidelines”, Plaintiffs seek an order that the MRC program and claims whose
                                                                       7   reimbursement amount was determined through the Viant OPR methodology that adopts a
                                                                       8   transparent and accurate reimbursement methodology. In situations such as this, “varying EOBs,
                                                                       9   plans, and damages[, w]hile these distinctions among proposed class members may affect the
                                                                      10   dollar amount or scope of the available remedies, they do not reflexively defeat class
                                                                      11   certification when the underlying harm derives from the same common contention . . . we fail to
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                                                                      12   see how surcharge, disgorgement, or declaratory and injunctive relief would necessarily be
                                                                      13   foreclosed here in a class context.” Peters v. Aetna Inc., 2 F.4th 199, 243 (4th Cir. 2021), cert.
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                                                                      14 denied sub nom. OptumHealth Care Sols. v. Peters, 142 S. Ct. 1227 (2022).
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                                                                      15           Plaintiffs’ claim for improper denial of benefits under ERISA § 502(a)(1)(B) similarly
                                                                      16 has common questions of law and fact. Class certification is appropriate when an ERISA §

                                                                      17 502(a)(1)(B) claim “has the capacity “to generate common answers apt to drive the resolution of

                                                                      18 the litigation” Hendricks v. Aetna Life Ins. Co., 339 F.R.D. 143, 148 (C.D. Cal. 2021) (emphasis

                                                                      19 in original, citation omitted). Plaintiffs’ ERISA § 502(a)(1)(B) claim involves the common

                                                                      20 question as to whether the pricing of Plaintiffs’ and the putative Class’ claims priced through

                                                                      21 Viant OPR produced a valid UCR. (FAC ¶¶460-467). Also, commonality is satisfied as the

                                                                      22 Plaintiffs have shown that the ERISA plans at issue have common or substantially similar terms

                                                                      23 concerning the implementation of MRC for the claims of Plaintiffs and the putative class18.

                                                                      24           The commonality requirement is also easily met here for both ERISA and RICO claims.
                                                                      25
                                                                           18 See Wit v. United Behav. Health, 317 F.R.D. 106, 128 (N.D. Cal. 2016) “The court in In re Wellpoint did not,
                                                                      26
                                                                           however, suggest that the mere fact that class members were insured under different plans precluded commonality.
                                                                           To the contrary, it recognized that it is possible to satisfy the commonality requirement when there are multiple
                                                                      27   ERISA plans, for example, where the “ERISA plans at issue had terms that were common across the proposed
                                                                           class.” Id. at *11.
                                                                      28


                                                                                                                                  -13-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 21 of 33



                                                                       1   Fed. R. Civ. P. 23(a)(2). Commonality requires that the plaintiff demonstrate that a ‘common
                                                                       2   contention’ that is “of such a nature that it is capable of classwide resolution—which means that
                                                                       3 determination of its truth or falsity will resolve an issue that is central to the validity of each one

                                                                       4 of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). The core

                                                                       5 common contention here is that the Viant OPR pricing methodology did not produce a UCR rate

                                                                       6 but rather systematically underpriced claims. This factual contention is the same for every class

                                                                       7 member and is central to their claims. (See Lahav Report ¶¶38-41) Accordingly, the

                                                                       8 commonality requirement is met for all of Plaintiffs’ claims.

                                                                       9           3.     Plaintiffs’ Claims Satisfy the Typicality Requirement

                                                                      10           Rule 23(a) typicality focuses on the connections between the facts and issues among the

                                                                      11 class and its representatives. See Buus v. WAMU Pension Plan, 251 F.R.D. 578, 585 (W.D.

                                                                      12 Wash. 2008) citing Dukes v. Wal–Mart, Inc., 509 F.3d 1168, 1184 n. 12 (9th Cir. 2007). “[F]or
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                                                                      13 purposes of typicality, it is enough to find that plaintiffs’ theory of their injury is the same theory

                                                                      14 of injury for the entire class” Congdon v. Uber Techs., Inc., 291 F. Supp. 3d 1012, 1027 (N.D.
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                                                                      15 Cal. 2018); Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). “Differences in the

                                                                      16 amount of harm sustained ‘do not negate a finding of typicality, provided the cause of those

                                                                      17 injuries arises from a common wrong.’” Tawfilis v. Allergan, Inc., 2017 WL 3084275, at *9

                                                                      18 (C.D. Cal. June 26, 2017) (citation omitted). Under the typicality requirement, a court examines

                                                                      19 “the defendants’ conduct and plaintiff's legal theory”, not the injury caused to the plaintiff, and

                                                                      20 does not require that “all class members suffer the same injury as the named class

                                                                      21 representative.” Simpson v. Fireman's Fund Ins. Co., 231 F.R.D. 391, 396 (N.D. Cal. 2005),

                                                                      22 modified, 2007 WL 46785 (N.D. Cal. Jan. 5, 2007). Plaintiffs have asserted the same theory of

                                                                      23 injury for the entire class and have shown that Viant OPR applied the same flawed pricing

                                                                      24 methodology to their IOP claim as it did to every other class member’s claim.

                                                                      25           The named Plaintiffs and putative Class members have all suffered a RICO injury that

                                                                      26 resulted from the activity and operation of the RICO enterprise; it is irrelevant if the injuries

                                                                      27 were the result of different predicate acts, as the injuries are all the result of the same scheme.

                                                                      28 See Just Film, Inc. v. Buono, 847 F.3d 1108, 1117 (9th Cir. 2017) (“[T]ypicality [is] satisfied


                                                                                                                            -14-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 22 of 33



                                                                       1   where plaintiff's ‘injuries stem from the same scheme, although the specific predicate act that
                                                                       2 caused her injury may differ from the acts that caused injury to other class members. . .

                                                                       3 [Plaintiff’s] allegation of harm based on some of the activities comprising the RICO violation is

                                                                       4 sufficient.’”). Each named Plaintiff and putative Class member has financial responsibility for

                                                                       5 the difference between their provider’s billed charges and the Viant OPR determined

                                                                       6 reimbursement amount. The Viant OPR amount is below the UCR amount that should have been

                                                                       7   reimbursed. Thus, whether patients paid this amount out-of-pocket or incurred injury in the form
                                                                       8 of owing the balance amount, or even endured the time and stress of attempting to have their

                                                                       9 claim properly reimbursed, they suffered a RICO injury. Id. at 1108.

                                                                      10 Plaintiffs’ ERISA claims likewise meet the typicality requirement. Plaintiffs’ claims were all

                                                                      11 processed and priced through Viant OPR, each having a remark code representing Viant OPR
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                                                                      12 (see EOB Composite Exhibit 28) Here, the named plaintiffs are typical of the class as a whole

                                                                      13 because they all filed claims for reimbursement for out-of-network intensive behavioral therapy
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                                                                      14 from Cigna and their claims for treatment were all underpriced through the same flawed
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                                                                      15 methodology, Viant OPR. The SPDs from the sample claims agreed to by the parties show that

                                                                      16 all the plans were substantially similar in reimbursing under UCR rates. All providers obtained

                                                                      17 information from a single source provided by Cigna pursuant to the company’s policy (as

                                                                      18 evidenced by the testimony of Cigna executives and recordings), providers reasonably relied on

                                                                      19 this information (as evidenced by that same testimony), and the class members claims were all

                                                                      20 processed using uniform methodology contained in a single database – Viant OPR (See Lahav

                                                                      21 Report ¶41). Accordingly, the typicality requirement is met.

                                                                      22          4.      The Adequacy Requirements of Rule 23(a)(3) Are Satisfied

                                                                      23                  a)         Plaintiffs Are Adequate Class Representatives
                                                                                  Class members are adequate class representatives when (1) they have a sufficient interest
                                                                      24
                                                                           in the outcome of the case to ensure vigorous advocacy, and (2) there is no reason to believe that
                                                                      25
                                                                           a conflict exists between the class representatives and the other putative class members. The
                                                                      26
                                                                           underlying merits of any particular class representative’s claim have no bearing on their ability to
                                                                      27
                                                                           act as class representatives. See Walters v. Reno, 145 F.3d 1032, 1046 (9th Cir. 1998). In the
                                                                      28


                                                                                                                           -15-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 23 of 33



                                                                       1   Ninth Circuit, “the adequacy-of-representation requirement is satisfied as long as one of the class
                                                                       2   representatives is an adequate class representative.” Loc. Joint Exec. Bd. of Culinary/Bartender
                                                                       3   Tr. Fund v. Las Vegas Sands, Inc., 244 F.3d 1152, fn.2 1162 (9th Cir. 2001). Plaintiffs have all
                                                                       4   participated in the discovery process by producing documents, responding to Defendants’
                                                                       5   interrogatories, and sitting for depositions. They have actively participated in the prosecution of
                                                                       6   this matter so far and will continue to do so (see Lahav Report ¶¶42-45). Plaintiffs have sat for
                                                                       7   depositions, demonstrated a general understanding of the litigation, and shown that they will act
                                                                       8   in the interests of the class. See Caufield v. Colgate-Palmolive Co., 2017 WL 3206339, at *5
                                                                       9 (S.D.N.Y. July 27, 2017).

                                                                      10                  b)         Plaintiffs’ Attorneys Are Experienced and Qualified Class Counsel

                                                                      11          Plaintiffs’ attorneys have successfully prosecuted nationwide actions against insurance

                                                                      12 companies for ERISA violations. There is no conflict with Plaintiffs’ counsel’s prior
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                                                                      13 representation of healthcare providers in the previously dismissed PRS v. Cigna, No. 5:20-cv-

                                                                      14 02251-EJD (N.D. Cal. 2020). Further, “[m]ere speculation as to conflicts that may develop at the
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                                                                      15 remedy stage is insufficient to support denial of initial class certification.” Hart v. Colvin, 310

                                                                      16 F.R.D. 427, 436 (N.D. Cal. 2015). Accordingly, Plaintiffs’ attorneys are experienced and

                                                                      17 qualified to serve as class counsel.

                                                                      18          5.      The Proposed Class Is Ascertainable
                                                                                  The proposed Class is ascertainable and defined by objective criteria. The exact number
                                                                      19
                                                                           of persons in the proposed Class does not need to be determined for a class to be certified. See
                                                                      20
                                                                           Lynch v. Rank, 604 F. Supp. 30, 36 (N.D. Cal.), aff'd, 747 F.2d 528 (9th Cir. 1984), opinion
                                                                      21
                                                                           amended on reh'g, 763 F.2d 1098 (9th Cir. 1985) (collecting cases). The Ninth Circuit held, “the
                                                                      22
                                                                           language of Rule 23 neither provides nor implies that demonstrating an administratively feasible
                                                                      23
                                                                           way to identify class members is a prerequisite to class certification.” Briseno v. ConAgra Foods,
                                                                      24
                                                                           Inc., 844 F.3d 1121, 1133 (9th Cir. 2017). The proposed Class is defined by objective criteria as
                                                                      25
                                                                           set forth supra and the reports of Plaintiffs’ experts, and is, therefore, ascertainable.
                                                                      26
                                                                           B. The Requirements of Rule 23(b) Are Satisfied
                                                                      27
                                                                                  “Rule 23(b)(1) allows a class to be maintained where ‘prosecuting separate actions by or
                                                                      28


                                                                                                                             -16-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 24 of 33



                                                                       1   against individual class members would create a risk of’ either ‘(A) inconsistent or varying
                                                                       2 adjudications’, or ‘(B) adjudications . . . that, as a practical matter, would be dispositive of the

                                                                       3 interests of the other members not parties to the individual adjudications or would substantially

                                                                       4 impair or impede their ability to protect their interests.’” Wal-Mart Stores, Inc. v. Dukes, 564

                                                                       5 U.S. 338, 346 n. 2 (2011). Rule 23(b)(2) allows a class to be maintained “when ‘the party

                                                                       6 opposing the class has acted or refused to act on grounds that apply generally to the class, so that

                                                                       7 final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

                                                                       8 whole.’” Wal-Mart Stores, Inc 564 U.S. at 345–46. “Rule 23(b)(3) states that a class may be

                                                                       9   maintained where ‘questions of law or fact common to class members predominate over any
                                                                      10   questions affecting only individual members,’ and a class action would be ‘superior to other
                                                                      11   available methods for fairly and efficiently adjudicating the controversy.’” Wal-Mart Stores, Inc.
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                                                                      12 564 U.S. at 346 n. 2. The predominance requirement is unique to (b)(3) and not required of

                                                                      13 (b)(1) or (b)(2). See Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013).
                                                                                   1.       The RICO Claims Are Appropriate for Class Certification under Rule
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                                                                      14
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                                                                      15
                                                                                   Under both Rule 23(b)(2) and 23(b)(3) any reliance analysis in this case does not require
                                                                      16
                                                                           individual inquiry. (Lahav, ¶¶ 39-40). Further, the ‘reliance’ that satisfies a civil RICO claim has
                                                                      17
                                                                           been interpreted broadly and is not intended to impose a high bar. See, e.g., Negrete v. Allianz
                                                                      18
                                                                           Life Ins. Co. of N. Am., 287 F.R.D. 590, 596 (C.D. Cal. 2012), affirming certification of a civil
                                                                      19
                                                                           RICO class “where proof of reliance is ‘a milepost on the road to causation’” citing Poulos v.
                                                                      20
                                                                           Caesars World, Inc., 379 F.3d 654, 664 (9th Cir.2004). The Court affirmed the use of a
                                                                      21
                                                                           “common sense” under the circumstances in Negrete, 287 F.R.D at 613. The same “common
                                                                      22
                                                                           sense” approach is well-suited to the facts of this case19.
                                                                      23
                                                                                   Having thus established a class-wide presumption of reliance, the “presumption cannot be
                                                                      24
                                                                           rebutted by showing that individual absent class members did not rely upon the fraudulent
                                                                      25   19 See Murphy Depo. 325:11-332:24 (discussing the VOB calls and recordings of Cigna call center agents providing
                                                                      26   benefits information to providers for members with the MRC programs stating that Cigna “
                                                                                                                                                                    ”
                                                                                                                                                                            VOB recording
                                                                      27   and testimony thereon relating to the MRC Program. See also Appendix to Hall Supp. providing numerous examples
                                                                           of usual and customary and its congeners and generally accepted and understood meaning within healthcare.
                                                                      28


                                                                                                                                -17-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 25 of 33



                                                                       1   omissions. The presumption [can] be rebutted on a class-wide basis only if there is evidence that
                                                                       2   can be properly generalized to the class as a whole.” Plascencia v. Lending 1st Mortg., 2011 WL
                                                                       3   5914278, at *2 (N.D. Cal. Nov. 28, 2011) (underlining added). Defendants have produced no
                                                                       4   such evidence and therefore cannot rebut the class-wide presumption of reliance at this stage of
                                                                       5   the litigation. Regarding a RICO injury, it is well established that a debt constitutes an economic
                                                                       6   injury for many purposes. See e.g. Lane v. Wells Fargo Bank, N.A., 2013 WL 3187410, at *11
                                                                       7   (N.D. Cal. June 21, 2013) (“debt is an economic injury”); Vega v. Ocwen Fin. Corp., 2015 WL
                                                                       8   1383241, at *8 (C.D. Cal. Mar. 24, 2015). It is well established that “damages as compensation
                                                                       9   under RICO § 1964(c) for injury to property must, under the familiar rule of law, place [the
                                                                      10   injured parties] in the same position they would have been in but for the illegal conduct.” In re
                                                                      11   U.S. Foodservice Inc. Pricing Litig., 729 F.3d 108, 122 (2d Cir. 2013). In In re U.S. Foodservice,
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                                                                      12   the court found RICO damages on the fact of that case were “the amount of overcharge—the
                                                                      13 amount customers paid [Defendant] as a result of its deception.” Id. at 123. RICO damages can
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                                                                      14 be measured in a similar manner in this litigation as the amount that Defendants under-
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                                                                      15 reimbursed as the result of the Enterprise’s fraudulent use of Viant OPR. (see Ralston dec. ¶ 34).

                                                                      16 Further, the actual determination of damages for Plaintiffs’ civil RICO claims is not of a nature

                                                                      17 that would preclude class certification. See e.g., Schramm v. JPMorgan Chase Bank, N.A., 2011

                                                                      18 WL 5034663, *11–12 (C.D.Cal. Oct. 19, 2011); 2 Newberg on Class Actions § 4:57 (5th ed.).

                                                                      19 Further, a prospective injunction is appropriate because the MRC program with Viant OPR

                                                                      20 continues to be used by the Defendants in the same fraudulent manner and as a part of the same

                                                                      21 scheme that gave rise to the present litigation.20.

                                                                      22            Plaintiffs’ RICO claims meet the “common question” requirements for class certification
                                                                      23 under Rule 23(b)(3). “In determining whether the ‘common question’ prerequisite is met, a

                                                                      24 district court is limited to resolving whether the evidence establishes that a common question is

                                                                      25   20 Accord, Huyer v. Wells Fargo & Co., 295 F.R.D. 332, 344 (S.D.Iowa, 2013); In re Managed Care Litigation,
                                                                      26   298 F.Supp.2d 1259, 1283 (S.D.Fla.,2003); Motorola Credit Corp. v. Uzan, 202 F.Supp.2d 239, 244 (S.D.N.Y.,
                                                                           2002); but see, Religious Technology Center v. Wollersheim, 796 F.2d 1076 (C.A.9 (Cal.),1986) (finding injunctive
                                                                           relief unavailable to civil RICO plaintiffs). Plaintiffs urge the Court to reject Wollersheim and instead follow Nat'l
                                                                      27   Org. For Women, Inc. v. Scheidler, 267 F.3d 687 (7th Cir. 2001), rev'd on other grounds, 537 U.S. 393 154 L. Ed.
                                                                           2d 991 (2003) for the same reasons outlined in the cases cited.
                                                                      28


                                                                                                                                    -18-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 26 of 33



                                                                       1   capable of class-wide resolution, not whether the evidence in fact establishes that plaintiffs
                                                                       2   would win at trial.” Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th
                                                                       3   651, 666–67 (9th Cir. 2022) (emphasis in original). “[A] district court cannot decline
                                                                       4   certification merely because it considers plaintiffs’ evidence relating to the common question to
                                                                       5   be unpersuasive and unlikely to succeed in carrying the plaintiffs' burden of proof on that issue.”
                                                                       6   Olean, 31 F.4th at 667. The Ninth Circuit continued, “we have held that a district court is not
                                                                       7   precluded from certifying a class even if plaintiffs may have to prove individualized damages at
                                                                       8   trial.” Olean, 31 F.4th at 668–69. For purposes of Rule (23)(b)(3), Plaintiffs need only propose a
                                                                       9   valid method for calculating class-wide damages, not perform an actual calculation of damages.
                                                                      10   See Leyva v. Medline Indus. Inc., 716 F.3d 510 (9th Cir. 2013).
                                                                      11           This Court has already held Plaintiffs sufficiently alleged that they were harmed as a
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                                                                      12   natural and foreseeable consequence of Cigna and MultiPlan’s alleged RICO enterprise and that
                                                                      13   Plaintiffs did not need to allege first-party reliance on the Defendants’ misrepresentations or
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                                                                      14   omissions (see Dkt. 116) and Plaintiffs have now supported these allegations with record
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                                                                      15   evidence and expert opinions as set forth supra. Plaintiffs’ RICO claims have them and members
                                                                      16 of the class incurring financial obligations that they would not have otherwise incurred if their

                                                                      17 claims had been paid according to a genuine UCR methodology. It is irrelevant if the injuries

                                                                      18 were the result of different predicate acts, as the injuries are all the result of the same scheme.

                                                                      19 See Just Film, Inc. v. Buono, 847 F.3d 1108, 1117 (9th Cir. 2017) (See Lahav Report ¶66).

                                                                      20 Balance bills are irrelevant to all of the claims at issue and is a common practice for out-of-

                                                                      21 network healthcare providers and is done as a part of their usual course of business21.

                                                                      22 Defendants knew and intended that MRC program and Viant OPR in particular were conveyed

                                                                      23 as determining reimbursement rates based on UCR, a term that is widely used and understood in

                                                                      24 the healthcare field and by Defendants (see Ralston dec. ¶¶ 11, 14, 37) and Defendants had full

                                                                      25   knowledge that Viant OPR never produced a UCR for IOP claims (Ralston dec. ¶¶ 14, 37) and
                                                                      26
                                                                           21
                                                                           See Declaration of Michael Borkowski Regarding Subpoena Issued to SBH Union IOP, LLC D/BA/ Serenity at
                                                                      27 Summit/Summit   Behavioral Health, Exhibit 26, CIG_RJ00972180; Borsten depo. at 108:2 – 112:25; Franco Depo.
                                                                           151:18 – 151:23.)
                                                                      28


                                                                                                                               -19-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 27 of 33



                                                                       1   these issues are resolvable on a class-wide basis.
                                                                       2                   a)        RICO Reliance Can Be Determined on a Class-Wide Basis

                                                                       3           Plaintiffs have presented evidence such that a finder of fact could find reliance and, as

                                                                       4 stated by a sister court, “[b]ecause plaintiffs' evidence may enable them to establish reliance and

                                                                       5 thus causation in this case, the Court finds that common issues regarding [Defendant’s] alleged

                                                                       6 overarching fraudulent scheme predominate over questions affecting only individual members of

                                                                       7 the nationwide class.” Negrete 238 F.R.D at 492 (C.D. Cal. 2006). Plaintiffs’ allegations of third-

                                                                       8 party reliance by Plaintiffs’ providers on what Cigna told the providers told within VOB calls,

                                                                       9   the PAD letters, and other communications using the mail and wires, are sufficient (see MTD

                                                                      10 Order, Dkt. 60 pg. 13 - 18). These representations are based on common policies and procedures

                                                                      11   of the Defendants and are appropriate for class certification.

                                                                                   Every provider, when calling to verify a member’s benefits, asked Cigna’s agent for the
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                                                                      13   same information: the rate at which out-of-network substance abuse behavioral health claims

                                                                      14 would be paid. Cigna’s agents followed the same script and procedure each time and informed
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                                                                      15 the provider that claims would be paid based upon the UCR as set forth supra. Cigna knew that

                                                                      16   providers would call to verify benefits, be told the UCR rate from Cigna’s claim system, and the

                                                                      17   providers relied on this information, as did the patients, in deciding to proceed with treatment.22

                                                                      18   The patients and providers then proceeded with treatment, causing the patients to incur liability

                                                                      19   for the cost of the services provided to them. It was only after treatment was provided, after the

                                                                      20   patients’ claims were processed using the fraudulent Viant OPR methodology, that the patients

                                                                      21   and their providers felt the sting of the Defendants’ ‘bait-and-switch’ when the patients were left

                                                                      22   with overly large personal liability for the balance of what should have been paid at ‘usual and

                                                                      23   customary’ rates. Where, as here, the same fraudulent scheme affects every member of the class,

                                                                      24   a RICO class action is appropriate. See, Bias v. Wells Fargo & Co., 312 F.R.D. 528, 537 (N.D.

                                                                      25   Cal. 2015); Cohen v. Trump, 303 F.R.D. 376 (S.D. Cal. 2014).

                                                                      26           Further, consistent with and reinforcing the Defendants’ scheme to defraud and

                                                                      27   supporting the providers’ reliance upon statements made to them during the VOB calls, providers
                                                                           22 See VOB Composite Exhibit 27; Depo. of JoAnne Forrest 192:18 – 192:23, 211:6 – 211:13, 212:25 – 213:23.
                                                                      28


                                                                                                                               -20-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 28 of 33



                                                                       1   were required to call Viant if they disputed the reimbursement amount, then received a common,
                                                                       2   scripted, ‘education’ on Viant’s methodology, and were provided intentionally misleading and
                                                                       3   incorrect EOMs to bolster the Defendants’ fraudulent scheme. This is an ongoing, repeated
                                                                       4 process in furtherance of the RICO enterprise.

                                                                       5                  b)         Superiority

                                                                       6          Under Rule 23(b)(3), the superiority requirement for class action is met where class-wide

                                                                       7 litigation of common issues will reduce litigation costs and promote greater efficiency. See

                                                                       8 Negrete v. Allianz Life Ins. Co. of N. Am., 238 F.R.D. 482, 493 (C.D. Cal. 2006). The superiority

                                                                       9   requirements are clearly met here. First, most individuals are unlikely to independently bring suit

                                                                      10   for their claims. For many, the recovery would be too small to independently pursue and the

                                                                      11   putative class consists of patients that sought treatment for substance use disorders, a population

                                                                           with a chronic disease that is not necessarily well suited to pursue their rights through
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                                                                      13   complicated litigation. Further, if every class member brought a claim, courts nationwide would

                                                                           be congested and overburdened with having to determine whether Viant OPR employed a valid
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                                                                      15   ‘usual and customary’ methodology and whether such actions formed part of a RICO enterprise.

                                                                      16          2.      The ERISA Claims Are Appropriate for Class Certification Under Rule
                                                                                          23(b)(1), (b)(2) & (b)(3)
                                                                      17          Plaintiffs’ claims for equitable relief under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)
                                                                      18   and improper denial of benefits under ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B) are
                                                                      19   appropriate for class resolution.
                                                                      20                  a)         Plaintiffs’ ERISA Claims Are Appropriate Under Rule 23(b)(1)
                                                                      21          Certification of an ERISA class action under Rule 23(b)(1) is “particularly appropriate in
                                                                      22   cases involving ERISA fiduciaries who must apply uniform standards to a large number of
                                                                      23   beneficiaries.” Baird v. Blackrock Institutional Tr. Co., N.A., 2020 WL 7389772, at *14 (N.D.
                                                                      24   Cal. Feb. 11, 2020) (collecting cases, internal citations and quotations omitted). In particular, the
                                                                      25   Ninth Circuit has held that certification under Rule 23(b)(1)(B) is appropriate for an ERISA class
                                                                      26   that is based on oral representations that were made “where the defendant's representations were
                                                                      27   allegedly made on a uniform and classwide basis, individual issues of reliance do not preclude
                                                                      28   class certification.” Moyle v. Liberty Mut. Ret. Ben. Plan, 823 F.3d 948, 964-5 (9th Cir. 2016), as


                                                                                                                            -21-
                                                                            Case No. 5:20-cv-02255
                                                                            Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 29 of 33



                                                                       1   amended on denial of reh'g and reh'g en banc (Aug. 18, 2016). Courts in the Ninth and other
                                                                       2   Circuits have all certified 23(b)(1)(A) & (B) classes in ERISA cases. Id23. Because the primary
                                                                       3   relief sought by Plaintiffs under ERISA is a reprocessing of claims under an appropriate UCR
                                                                       4   standard, certification under Rule 23(b)(1)(A) and (B) is appropriate. Under Rule 23(b)(1)(A),
                                                                       5   there is the risk that different adjudicative bodies could apply different applications or
                                                                       6   approaches to the usual and customary determinations. Cf. Barnes v. AT & T Pension Benefit
                                                                       7   Plan-Nonbargained Program, 270 F.R.D. 488, 496 (N.D. Cal. 2010), modified sub nom. Barnes
                                                                       8   v. AT & T Pension Ben. Plan-NonBargained Program, 273 F.R.D. 562 (N.D. Cal. 2011). Rule
                                                                       9   23(a)(1)(B) is also met because “ERISA requires plan administrators to treat all similarly
                                                                      10   situated participants in a consistent manner” Alday v. Raytheon Co., 619 F.Supp.2d 726, 736
                                                                      11   (D.Ariz.2008), thus applying the determination of usual and customary for one member to all
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                                                                      12   other plan members.
                                                                      13            Plaintiffs are challenging Defendants method of calculating reimbursement and the
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                                                                      14   incidental effect of likely having to pay additional reimbursement amounts when using an
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                                                                      15   appropriate, objective, methodology is consistent with the many cases where courts have
                                                                      16   certified classes. As discussed supra, the practices that Plaintiffs contend constitute violations of
                                                                      17   ERISA §§ 502(a)(3) and 502(a)(1)(B) involve determinations that would necessarily involve
                                                                      18   determinations for other plan members, making certification under Rule 23(b)(1) appropriate.
                                                                      19   (See Lahav Report ¶¶47-48). Cigna has one program, the MRC program, and its obligations
                                                                      20   under this program do not vary from in a significant or meaningful way between plans for class
                                                                      21   members’ claims. As stated by a sister court in Trujillo v. UnitedHealth Grp., Inc., 2019 WL
                                                                      22   493821, at *8 (C.D. Cal. Feb. 4, 2019), “[t]he Court concludes that the requirements of Rule
                                                                      23   23b(1)(A) are met here… if this Court were to find that the terms of United plans and ERISA
                                                                      24   claim processing and notice rules required United to act in a certain fashion, and another court
                                                                      25   found that those same terms and rules required United to act in a different fashion, United would
                                                                      26
                                                                           23
                                                                            See also, In re Citigroup Pension Plan ERISA Litig., 241 F.R.D. 172, 179 (S.D.N.Y. 2006); Munro v. University
                                                                      27 of Southern California, 2019 WL 7842551, *9-10 (C.D. Cal. 2019); Baird v. Blackrock Institutional Tr. Co., 2020
                                                                           WL 7389772, at *14 (N.D. Cal. Feb. 11, 2020).
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                                                                                                                                 -22-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 30 of 33



                                                                       1   face an ‘incompatible standard of conduct.’” As the such the putative class should be certified
                                                                       2 pursuant to Rule 23(b)(1).

                                                                       3                    b)       The ERISA Classes Are Appropriate for Class Certification Under
                                                                                                     Rule 23(b)(2): Injunctive Relief
                                                                       4
                                                                                   “Rule 23(b)(2) requirements are unquestionably satisfied when members of a putative
                                                                       5
                                                                           class seek uniform injunctive or declaratory relief from policies or practices that are generally
                                                                       6
                                                                           applicable to the class as a whole.” Stromberg v. Qualcomm Inc., 14 F.4th 1059, 1067 (9th Cir.
                                                                       7
                                                                           2021). The relief sought by Plaintiffs is applicable to class as a whole. As to ERISA claims, the
                                                                       8
                                                                           reprocessing of all the claims at issues using an objective reimbursement methodology and
                                                                       9
                                                                           requiring such a methodology for those plans that continue to participate in the MRC program
                                                                      10
                                                                           with Viant OPR, is equitable relief that is appropriate under Rule 23(b)(2). See Buus 251 F.R.D.
                                                                      11
                                                                           at 588 (“Plaintiffs also seek equitable relief in the form of a recalculation of the accrued benefits
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                                                                      12
                                                                           of class members based upon the old, pre cash balance formula for calculating benefits… This
                                                                      13
                                                                           relief applies to each subclass as a whole. Rule 23(b)(2) is satisfied.”). As sister courts have held,
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                                                                           “[a] reprocessing injunction—requiring the defendants to reprocess denied claims— [is] an
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                                                                      15
                                                                           appropriate basis for class certification under Rule 23(b)(2).” Kazda v. Aetna Life Ins. Co., 2022
                                                                      16
                                                                           WL 1225032, at *6 (N.D. Cal. Apr. 26, 2022)). Further, “the Supreme Court has long recognized
                                                                      17
                                                                           that in cases seeking injunctive or declaratory relief, only one plaintiff need demonstrate standing
                                                                      18
                                                                           to satisfy Article III.” Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th
                                                                      19
                                                                           651, 682 (9th Cir. 2022) (collecting cases). Plaintiffs and the Class members are all seeking
                                                                      20
                                                                           declaratory and injunctive relief to remedy the same conduct on the part of Cigna and MultiPlan:
                                                                      21
                                                                           their uniform practice and fraudulent use of Viant OPR,24. All class members were, and will be,
                                                                      22
                                                                           affected by Defendants’ policies and practices in the same way. There can be no doubt, therefore,
                                                                      23
                                                                           that this action “necessarily involve[s] acts that are generally applicable to the class.” Moeller v.
                                                                      24
                                                                           Taco Bell Corp., 220 F.R.D. 604, 612 (N.D. Cal. 2004), amended in part, 2012 WL 3070863
                                                                      25
                                                                           (N.D. Cal. July 26, 2012); Hart v. Colvin, 310 F.R.D. 427, 435 (N.D. Cal. 2015). It is irrelevant
                                                                      26

                                                                      27   24 Beckstead Depo. 85:7 – 85:9, 172:2 – 172:18.; Praxmarer Depo. 222:12 – 223:12.); Deposition Transcript of
                                                                           Keith Jones, Exhibit 30, Depo. at 155:13 – 155:21.); Crandell Depo. 20:23 – 21:5, 31:3 – 32:10, 119:5 – 123:1.
                                                                      28


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                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 31 of 33



                                                                       1   whether the reprocessing of the claims ultimately changes the reimbursement outcome25, every
                                                                       2 claim at issue in this matter was processed using Viant OPR (see Lahav Report ¶¶49-54), and

                                                                       3   class certification is appropriate.
                                                                       4                     c)       The ERISA Classes Are Appropriate for Class Certification Under
                                                                                                      Rule 23(b)(3): Predominance & Superiority
                                                                       5
                                                                                    Under Rule 23(b)(3), “a class may be maintained where ‘questions of law or fact
                                                                       6
                                                                           common to class members predominate over any questions affecting only individual members,’
                                                                       7
                                                                           and a class action would be ‘superior to other available methods for fairly and efficiently
                                                                       8
                                                                           adjudicating the controversy.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 346 n. 2 (2011).
                                                                       9
                                                                                                      (1)      Predominance
                                                                      10            “When common questions present a significant aspect of the case and they can be
                                                                      11 resolved for all members of the class in a single adjudication, there is clear justification for
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                                                                      12 handling the dispute on a representative rather than on an individual basis.” Hanlon v. Chrysler

                                                                      13 Corp., 150 F.3d 1011, 1022 (9th Cir. 1998) (internal quotations omitted). All class members seek
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                                                                      14 the same relief, and their entitlement to such relief does not depend on individualized issues as
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                                                                      15 set out supra. (See Lahav Report ¶¶55-62). Therefore, the proposed Class therefore satisfies the

                                                                      16 predominance requirement of Rule 23(b)(3).

                                                                      17                              (2)      Superiority
                                                                      18            The requirements of Rule 23(b)(3) are met where common questions of law or fact
                                                                      19 occupy a significant aspect of the case and can be resolved for all members in a single

                                                                      20 adjudication. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998) overruled on

                                                                      21 other grounds by Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011). Plaintiffs have provided

                                                                      22   an objective class definition appropriate for Rule 23(b)(3) certification and, most importantly, the
                                                                      23   class definition is objective. See Farar v. Bayer AG, 2017 WL 5952876, at *13-14 (N.D. Cal.
                                                                      24   Nov. 15, 2017). Likewise, in Briseno the Ninth Circuit squarely rejected the claim that, for
                                                                      25
                                                                           25 Further, Cigna’s 30(b)(6) deponent testified
                                                                      26

                                                                      27                                                                         30(b)(6) Depo. of G. Smith 139:6
                                                                           – 139:19.
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                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 32 of 33



                                                                       1   certification, a plaintiff must show an “administratively feasible” way to identify class members.
                                                                       2 844 F.3d at 1133. The Court stated, “an independent administrative feasibility requirement is

                                                                       3   unnecessary.” Id. Not only is such a requirement unnecessary, it also “conflicts with the well-
                                                                       4   settled presumption that courts should not refuse to certify a class merely on the basis of
                                                                       5   manageability concerns.” Id. at 1128.
                                                                       6          Further, the putative Class satisfies the superiority requirement because a “class action is
                                                                       7   the most efficient and effective means of resolving the controversy.” Wolin v. Jaguar Land
                                                                       8   Rover N. Am., LLC, 617 F.3d 1168, 1175-76 (9th Cir. 2010) (quotations omitted). Here,
                                                                       9   “recovery on an individual basis would be dwarfed by the cost of litigating on an individual
                                                                      10   basis.” Id. at 1175. Based on the record evidence presented and discussed supra, the putative
                                                                      11   class satisfies the requirements of Fed. R. Civ. P. 23(b)(3)(A)-(D). There are overriding common
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                                                                      12   issues in this case that allow for a finding of liability against the Defendants under Plaintiffs’
                                                                      13   ERISA claims and for the application of a common remedy (Lahav, ¶ 61). Certification of the
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                                                                      14   class, therefore, would best serve the interest of both the individual class members and judicial
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                                                                      15   economy.
                                                                      16                             (3)   Plaintiffs’ Damages Model Satisfies the Comcast Standard

                                                                      17          Under a damages model for class certification pursuant to Rule 23(b), “[c]alculations

                                                                      18   need not be exact, but at the class-certification stage (as at trial), any model supporting a

                                                                      19   plaintiff's damages case must be consistent with its liability case.” Comcast Corp. v. Behrend,

                                                                      20   569 U.S. 27, 35 (2013) (internal citations omitted). The model proposed by Plaintiffs meets this

                                                                      21   standard and is consistent with their liability case. See Hall Report ¶5; RPC Report ¶48.

                                                                      22 MultiPlan’s witness Ms. Beckstead when asked about using other data sources or even the claim

                                                                      23 data already within MultiPlan’s possession testified “there's all sorts of options as to what we

                                                                      24   could do” and agreed that the claims of the putative class could be reprocessed using the payor

                                                                      25   charge data already in MultiPlan’s possession (Beckstead Tr. Pg. 39 Ln. 3 Pg. 40 Ln. 21).

                                                                      26 V.       CONCLUSION

                                                                      27          For all of the reasons stated above, Plaintiffs respectfully ask the Court to certify the

                                                                      28 proposed Class, as well as any other such relief that the Court deems just and proper.


                                                                                                                            -25-
                                                                            Case No. 5:20-cv-02255
                                                                           Case 5:20-cv-02255-EJD Document 148 Filed 01/17/23 Page 33 of 33



                                                                       1
                                                                           Dated: January 17, 2023                    Arnall Golden Gregory LLP
                                                                       2

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                                                                            Case No. 5:20-cv-02255
